12/20/21, 2:13 PM                                                                           Case.net: 21WE-CC00082 - Docket Entries




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                                          21WE-CC00082 - FORD AND LOFTON V. ZOUICHA AND JAZLINK, INC. (E-CASE)
                              Case         Parties &    Docket        Charges, Judgments     Service     Filings     5 cheduled             Civil     Gunis!hmentsl
    FV File Viewer            Header       Attorneys    Entries          & Sentences       Information    Due      Hearings & Trials     Judgments      !Execution

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  11/24/2021              D       Judge/Clerk - Note
                                  MOTION AND ORDER FOR SPS E-MAILED TO JUDGE THIS DATE. VR
                          D       Summons Issued-Circuit
                                  Document ID: 21-SMCC-874, for JAZLINK, INC..
                          D       Summons Issued-Circuit
                                  Document ID: 21-SMCC-873, for ZOUICHA, MOHAMMED.
                          D       Filing Info Sheet eFiling
                                     Filed By: GENE SCOTT HOU
                          D       Note to Clerk eFiling
                                     Filed By: GENE SCOTT HOU
                          D       Proposed Order Filed
                                  PROPOSED ORDER APPOINTING SPECIAL PROCESS SERVER.
                                    Filed By: GENE SCOTT HOU
                                    On Behalf Of: FORD DURAND, DAVID LOFTON
                          D       Motion Special Process Server
                                  Motion for Appointment of Special Process Server.
                                    Filed By: GENE SCOTT HOU
                          D       Pet Filed in Circuit Ct
                                  Petition.
                                     Filed By: GENE SCOTT HOU
                          D       Order - Special Process Server
                                  TANYA WISEMAN-SPS
                                    Filed By: MICHAEL O'BRIEN HENDRICKSON
                          D       Judge Assigned
                                                    Case 6:22-cv-03010-MDH Document 1-1 Filed 01/13/22 Page 1 of 12
https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                                   EXHIBIT A                                      1/2
1/13/22, 10:22 AM                                                    Case.net: 21WE-CC00082 - Service Information




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                    21WE-CC00082 - FORD AND LOFTON V. ZOUICHA AND JAZLINK, INC. (E-
                                               CASE)
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  Further information may be available in the docket entries portion of Case.net. Because service of process may establish legal obligations, you may want to
                                                       examine the original case file in the clerk's office.
                                          Displaying 1 thru 2 of 2 service records returned for case 21WE-CC00082.

                                                                            Issuance
        Issued To:       ZOUICHA , MOHAMMED                                                                 Date Issued: 11/24/2021
        Document         Summons Civil Case-To Dft-                                                           Due Date: 12/24/2021
           Issued:       Res
      Document ID:       21-SMCC-873

                                                        Return (Information not yet on file)


                                                                            Issuance
        Issued To:       JAZLINK, INC.                                                                      Date Issued: 11/24/2021
        Document         Summons Civil Case-To Dft-                                                           Due Date: 12/24/2021
           Issued:       Res
      Document ID:       21-SMCC-874

                                                        Return (Information not yet on file)


                                          Displaying 1 thru 2 of 2 service records returned for case 21WE-CC00082.

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https://www.courts.mo.gov/casenet/cases/service.do                                      EXHIBIT A                                                            1/1
                                                                                                     Electronically Filed - Webster - November 24, 2021 - 11:54 AM
                                                                            21WE-CC00082

                        IN THE CIRCUIT COURT OF WEBSTER COUNTY
                                   STATE OF MISSOURI

 DURAND FORD and                                 )
 DAVID LOFTON                                    )
                                                 )
                   Plaintiffs,                   )   Cause Number:
                                                 )
 v.                                              )   Division:
                                                 )
 MOHAMMED ZOUICHA,                               )
                                                 )
 Serve At:                                       )
             Mohammed Zouicha                    )
             1033 Rue Valois                     )   Jury Trial Demanded
             Vaudreuil-Dorion, QC J7V 8P2        )
                                                 )
             and                                 )
                                                 )
 JAZLINK, INC.,                                  )
                                                 )
 Serve At:                                       )
             Jazlink, Inc.                       )
             1033 Rue Valois                     )
             Vaudreuil-Dorion, QC J7V 8P2        )
                                                 )
                   Defendants.                   )

                                            PETITION

       COME NOW Plaintiffs Durand Ford (hereinafter “Plaintiff Ford”) and David Lofton

(hereinafter “Plaintiff Lofton”), by and through the undersigned counsel, and for Plaintiffs’

Petition against the Defendants, Mohammed Zouicha (hereinafter “Defendant Zouicha”) and

Jazlink, Inc. (hereinafter “Defendant Jazlink”), state as follows:

                                  GENERAL ALLEGATIONS

       1.      This cause of action arises from a motor vehicle accident that occurred on February

4, 2018, at approximately 2:40 p.m. in Webster County, State of Missouri.

       2.      The aforesaid motor vehicle accident occurred at or near I-44 East in Webster

County, State of Missouri.

                                     1
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                                                                                                       Electronically Filed - Webster - November 24, 2021 - 11:54 AM
        3.      Venue is proper in the Circuit Court of Webster County pursuant to R.S.Mo. §

508.010.4 as Plaintiffs were first injured in Webster County.

        4.      On said date and time, Plaintiff Lofton was operating a 2019 General Motors Sierra

2500 HD and was traveling eastbound on I-44.

        5.      On said date and time, Plaintiff Ford was seated in the front passenger seat of the

vehicle being operated by Plaintiff Lofton.

        6.      On said date and time, Defendant Zouicha was operating a 2016 Volvo VNL,

owned by Defendant Jazlink, and was traveling eastbound on I-44.

        7.      On said date and time, Defendant Zouicha was an employee of Defendant Jazlink

and was acting within the course and scope of his employment.

        8.      Defendant Jazlink, as employer of Defendant Zouicha, is vicariously liable and

otherwise responsible for the negligent actions of its employee, Defendant Zouicha, while acting

within the course and scope of his employment with Defendant Jazlink.

        9.      At all times herein mentioned Plaintiffs’ vehicle was operated in a reasonable and

prudent manner, with due caution and regard for the motor vehicle laws of the State of Missouri.

        10.     Plaintiffs’ vehicle was slowing to a stop due to snow and congested traffic ahead.

        11.     Defendants’ vehicle came into collision with the rear of Plaintiffs’ vehicle.

        12.     Plaintiffs’ vehicle was violently pushed forward and sent spinning due to the impact

with Defendants’ vehicle, which set in motion a chain reaction of collisions involving multiple

vehicles.

        13.     Defendant Zouicha had a duty to drive with the highest degree of care for the safety

of the Plaintiffs and others.

        14.     The aforesaid collision occurred as a direct and proximate result of the negligence,

carelessness, recklessness and fault of Defendant Zouicha in the following respects:

                                     2
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                                                                                                      Electronically Filed - Webster - November 24, 2021 - 11:54 AM
               a.      Defendant Zouicha’s vehicle came into collision with the rear of Plaintiffs’

                       vehicle;

               b.      Defendant Zouicha drove at an excessive speed;

               c.      Defendant Zouicha failed to keep a careful lookout;

               d.      Defendant Zouicha failed to pay adequate attention;

               e.      Defendant Zouicha drove too fast for conditions;

               f.      Defendant Zouicha failed to yield the right-of-way;

               g.      Defendant Zouicha was following the Plaintiffs’ vehicle too closely;

               h.      Defendant Zouicha knew or could have known that there was a reasonable

                       likelihood of collision in the time thereafter to have stopped, swerved,

                       slackened speed, sounded a warning, or some combination of the above, but

                       Defendant Zouicha failed to do so;

               i.      Defendant Zouicha failed to obey the Rules of the Road; and

               j.      Defendant Zouicha failed to exercise the highest degree of care.

                                  COUNT I – DURAND FORD

       COMES NOW Plaintiff Durand Ford, by and through the undersigned counsel, and for

Count I of Plaintiffs’ Petition against the Defendants, Mohammed Zouicha and Jazlink, Inc.,

states as follows:

       15.     Plaintiff Ford re-alleges and incorporates by reference paragraphs 1 – 14 of the

allegations above as if they were fully set forth herein.

       16.     As a direct and proximate result of Defendant Zouicha’s carelessness and

negligence, Plaintiff Ford was caused to suffer injuries to his neck, back, arms, hands, shoulders,

and generally the associated bones, discs, joints, tendons, tissues, nerves, membranes, ligaments,

vessels and parts thereof, were severely bruised, contused, sprained, cracked, wrenched, swollen,

                                     3
        Case 6:22-cv-03010-MDH Document 1-1 Filed 01/13/22 Page 5 of 12
                                                                                                       Electronically Filed - Webster - November 24, 2021 - 11:54 AM
weakened, twisted and torn in the aforementioned parts of the body; Plaintiff Ford suffered serious,

permanent and disabling injuries; all of said injuries are serious, permanent and progressive in

nature; the nature and use of all said parts of the body are severely impaired and made painful; and

Plaintiff Ford’s enjoyment of life has been diminished.

       17.      As a direct and proximate result of Defendant Zouicha’s carelessness and

negligence as aforesaid, Plaintiff Ford has incurred medical expenses in the amount of $117,417.02

and in the future will be caused to incur further medical expenses in an amount presently

undetermined.

       WHEREFORE, Plaintiff Durand Ford prays for judgment against Defendants Mohammed

Zouicha and Jazlink, Inc., in a fair and reasonable amount in excess of $25,000.00, together with

his costs herein, and for such other and further relief as this Court deems just and proper.

                                 COUNT II – DAVID LOFTON

       COMES NOW Plaintiff David Lofton, by and through the undersigned counsel, and for

Count II of Plaintiffs’ Petition against the Defendants, Mohammed Zouicha and Jazlink, Inc.,

states as follows:

       18.      Plaintiff Lofton re-alleges and incorporates by reference Paragraphs 1 – 17 of the

allegations above as if they were fully set forth herein.

       19.      As a direct and proximate result of Defendant Zouicha’s carelessness and

negligence, Plaintiff Lofton was caused to suffer injuries to his knees, shoulders, elbows, wrists,

neck, back, and generally the associated bones, discs, joints, tendons, tissues, nerves, membranes,

ligaments, vessels and parts thereof, were severely bruised, contused, sprained, cracked, wrenched,

swollen, weakened, twisted and torn in the aforementioned parts of the body; Plaintiff Lofton

suffered serious, permanent and disabling injuries; all of said injuries are serious, permanent and




                                     4
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                                                                                                    Electronically Filed - Webster - November 24, 2021 - 11:54 AM
progressive in nature; the nature and use of all said parts of the body are severely impaired and

made painful; and Plaintiff Lofton’s enjoyment of life has been diminished.

       20.     As a direct and proximate result of Defendant Zouicha’s carelessness and

negligence as aforesaid, Plaintiff Lofton has incurred medical expenses in the amount of

$191,286.99 and in the future will be caused to incur further medical expenses in an amount

presently undetermined.

       21.     As a direct and proximate result of Defendant Zouicha’s carelessness and

negligence as aforesaid, Plaintiff Lofton suffered property damage to his vehicle, loss of use of

said vehicle, and diminution of value of said vehicle.

       WHEREFORE, Plaintiff David Lofton prays for judgment against Defendants Mohammed

Zouicha and Jazlink, Inc., in a fair and reasonable amount in excess of $25,000.00, together with

his costs herein, and for such other and further relief as this Court deems just and proper.

                                              Respectfully submitted,

                                              MISSOURI INJURY LAW FIRM, LLC




                                              Gene S. Hou, #51314
                                              Robert E. Wann, III #70405
                                              1444 Gravois Road
                                              High Ridge, MO 63049
                                              (636) 333-1717
                                              (636) 333-1716 Fax
                                              moinjurylawfirm@att.net
                                              rob@injurylawyers-stlouis.com
                                              Attorneys for Plaintiffs




                                     5
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                                                                                                     Electronically Filed - Webster - November 24, 2021 - 11:54 AM
                                                                              21WE-CC00082
                      IN THE CIRCUIT COURT OF WEBSTER COUNTY
                                 STATE OF MISSOURI

 DURAND FORD and                                 )
 DAVID LOFTON,                                   )
                                                 )
                Plaintiffs,                      )    Cause Number:
                                                 )
 v.                                              )    Division:
                                                 )
 MOHAMMED ZOUICHA and                            )
 JAZLINK, INC.,                                  )
                                                 )
                Defendants.                      )


 MOTION OF PLAINTIFFS FOR APPOINTMENT OF SPECIAL PROCESS SERVER

      COME NOW the Plaintiffs, by and through counsel, and move the Court to appoint Tanya
Wiseman, a bailiff of justice member of the firm Paquette & Associates, huissier de justice
S.E.N.C.R.L., 215 Rue Saint-Jacques, Suite 600, Montreal (Quebec) H2Y 1M6, (514) 982-3173;
to serve process on the Defendants, MOHAMMED ZOUICHA and JAZLINK, INC.. In support
of Plaintiffs’ Motion, Plaintiffs state as follows:

       1. The party who will serve the process in this case is over the age of eighteen and is not
          a party to this action.

         WHEREFORE, Plaintiffs move this Court for an Order appointing Tanya Wiseman, a
bailiff of justice member of the firm Paquette & Associates, huissier de justice S.E.N.C.R.L., 215
Rue Saint-Jacques, Suite 600, Montreal (Quebec) H2Y 1M6, (514) 982-3173;1to serve process
in this matter, and for such other and further relief at the Court deems just and proper.

                                                     MISSOURI INJURY LAW FIRM, LLC



                                                     ___________________________
                                                     Gene S. Hou, #51314
                                                     1444 Gravois Road
                                                     High Ridge, MO 63049
                                                     (636) 333-1717
                                                     (636) 333-1716 Fax
                                                     moinjurylawfirm@att.net
                                                     Attorney for Plaintiffs


So Ordered: _____________________________                     Date: ______________________
              Judge



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                                                                                                  Electronically Filed - Webster - November 24, 2021 - 11:54 AM
                                                                           21WE-CC00082
                     IN THE CIRCUIT COURT OF WEBSTER COUNTY
                                STATE OF MISSOURI

 DURAND FORD and                               )
 DAVID LOFTON,                                 )
                                               )
                Plaintiffs,                    )   Cause Number:
                                               )
 v.                                            )   Division:
                                               )
 MOHAMMED ZOUICHA and                          )
 JAZLINK, INC.,                                )
                                               )
                Defendants.                    )


                  ORDER APPOINTING SPECIAL PROCESS SERVER

       Upon motion of Plaintiffs, the Court hereby appoints Tanya Wiseman, a bailiff of justice

member of the firm Paquette & Associates, huissier de justice S.E.N.C.R.L., 215 Rue Saint-

Jacques, Suite 600, Montreal (Quebec) H2Y 1M6, (514) 982-3173; to serve process on the

Defendants, MOHAMMED ZOUICHA and JAZLINK, INC.




_____________________________________                      __________________________
Judge                                                      Date




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                                                                            21WE-CC00082
                     IN THE CIRCUIT COURT OF WEBSTER COUNTY
                                STA TE OF MISSOURI

 DURAND FORD and                               )
 DAYID LOFTON,                                 )
                                               )
                Plaintiffs,                    )   Cause Number:                                   z
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                                                                                                   ro
 V.                                            )   Division:                                       3
                                                                                                   CT

                                               )                                                   ~
                                                                                                   I\.)
                                                                                                   .t,.
 MOHAMMED ZOUICHA and                          )
                                                                                                   N
 JAZLINK, INC.,                                )                                                   C
                                                                                                   N
                                                                                                   _.
                                               )
                Defendants.                    )


                   ORDER APPOINTING SPECIAL PROCESS SERVER

        Upon motion of Plaintiffs, the Court hereby appoints Tanya Wiseman, a bailiff of justice

member of the firm Paquette & Associates, huissier de justice S.E.N.C.R.L., 215 Rue Saint-

Jacques, Suite 600, Montreal (Quebec) H2Y IM6, (514) 982-3173; to serve process on the

Defendants, MOHAMMED ZOUICHA and JAZLINK, INC.




                                                               11/24/21

Judge                                                       Date




      Case 6:22-cv-03010-MDH Document 1-1 Filed 01/13/22 Page 10 of 12
              IN THE 30TH JUDICIAL CIRCUIT, WEBSTER COUNTY, MISSOURI

Judge or Division:                                               Case Number: 21WE-CC00082
MICHAEL O'BRIEN HENDRICKSON
Plaintiff/Petitioner:                                            Plaintiff’s/Petitioner’s Attorney/Address
FORD DURAND                                                      GENE SCOTT HOU
                                                                 SUITE 175
                                                                 13500 RIVERPORT DRIVE
                                                           vs.   MARYLAND HEIGHTS, MO 63146
Defendant/Respondent:                                            Court Address:
MOHAMMED ZOUICHA                                                 101 S. CRITTENDEN -RM 22
Nature of Suit:                                                  CIVIL 859-2006 CRIM 859-2041
CC Pers Injury-Vehicular                                         MARSHFIELD, MO 65706
                                                                                                                             (Date File Stamp)

                                                       Summons in Civil Case
  The State of Missouri to: MOHAMMED ZOUICHA
                            Alias:
 1033 RUE VALOIS
 VANDREUIL-DORION, QC J7V 8P2
         COURT SEAL OF              You are summoned to appear before this court and to file your pleading to the petition, a
                                    copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                    plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                    exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                    be taken against you for the relief demanded in the petition.
                                               11/24/2021
                                      _______________________________                            /s/Vickie Replogle Deputy Clerk
                                                                                    ______________________________________________________
     WEBSTER COUNTY
                                                      Date                                                     Clerk
                                    Further Information:
                                                            Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above summons by: (check one)
     •   delivering a copy of the summons and a copy of the petition to the defendant/respondent.
     •   leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
           _________________________________________________, a person of the defendant’s/respondent’s family over the age of
           15 years who permanently resides with the defendant/respondent.
     •   (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
         _____________________________________________ (name) ____________________________________________ (title).
     •   other: ______________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                              _________________________________________________
                     Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                 Must be sworn before a notary public if not served by an authorized officer:
                                  Subscribed and sworn to before me on _______________________________ (date).
            (Seal)
                                  My commission expires: __________________                 ________________________________________
                                                                        Date                                     Notary Public
  Sheriff’s Fees, if applicable
  Summons                       $
  Non Est                       $
  Sheriff’s Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                       $                  (______ miles @ $.______ per mile)
  Total                         $
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.




OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 21-SMCC-873     Civil Procedure Form No. 1; Rules 54.01 – 54.05,
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                                                                 01/13/22       Page 11 of 12
                                                                   54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
              IN THE 30TH JUDICIAL CIRCUIT, WEBSTER COUNTY, MISSOURI

Judge or Division:                                               Case Number: 21WE-CC00082
MICHAEL O'BRIEN HENDRICKSON
Plaintiff/Petitioner:                                            Plaintiff’s/Petitioner’s Attorney/Address
FORD DURAND                                                      GENE SCOTT HOU
                                                                 SUITE 175
                                                                 13500 RIVERPORT DRIVE
                                                           vs.   MARYLAND HEIGHTS, MO 63146
Defendant/Respondent:                                            Court Address:
MOHAMMED ZOUICHA                                                 101 S. CRITTENDEN -RM 22
Nature of Suit:                                                  CIVIL 859-2006 CRIM 859-2041
CC Pers Injury-Vehicular                                         MARSHFIELD, MO 65706
                                                                                                                             (Date File Stamp)

                                                       Summons in Civil Case
  The State of Missouri to: JAZLINK, INC.
                            Alias:
 1033 RUE VALOIS
 VANDREUIL-DORION, QC J7V 8P2
         COURT SEAL OF              You are summoned to appear before this court and to file your pleading to the petition, a
                                    copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                    plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                    exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                    be taken against you for the relief demanded in the petition.
                                               11/24/2021
                                      _______________________________                          /s/Vickie Replogle Deputy Clerk
                                                                                    ______________________________________________________
     WEBSTER COUNTY
                                                      Date                                                    Clerk
                                    Further Information:
                                                            Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above summons by: (check one)
     •   delivering a copy of the summons and a copy of the petition to the defendant/respondent.
     •   leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
           _________________________________________________, a person of the defendant’s/respondent’s family over the age of
           15 years who permanently resides with the defendant/respondent.
     •   (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
         _____________________________________________ (name) ____________________________________________ (title).
     •   other: ______________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                              _________________________________________________
                     Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                 Must be sworn before a notary public if not served by an authorized officer:
                                  Subscribed and sworn to before me on _______________________________ (date).
            (Seal)
                                  My commission expires: __________________                 ________________________________________
                                                                        Date                                     Notary Public
  Sheriff’s Fees, if applicable
  Summons                       $
  Non Est                       $
  Sheriff’s Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                       $                  (______ miles @ $.______ per mile)
  Total                         $
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.




OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 21-SMCC-874     Civil Procedure Form No. 1; Rules 54.01 – 54.05,
                      Case 6:22-cv-03010-MDH Document 1-1 1Filed
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                                                                   54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
